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                UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF COLORADO

  In re: Andrea Nicole Tinsley,                      Case No. 25-12971-MER

           Debtor.                                   Chapter 13

  CREDITOR’S OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN


       Creditor Roaring Fork Neurology, P.C. d/b/a NeuroSpa (“Creditor”), by and
 through undersigned counsel, hereby objects to confirmation of the Chapter 13 Plan
 currently pending confirmation (the “Plan”) and in support thereof states as follows:

       1.      The Plan was not proposed in good faith pursuant to 11 U.S.C. §
 1325(a)(3).

       2.    Additionally, the Debtor’s petition was not filed in good faith as required
 under 11 U.S.C. § 1325(a)(7).

        3.    Finally, it is not clear as to whether all of Debtor’s disposable income is
 going to creditors under 11 U.S.C. § 1325(b)(1)(B).

                                      Background

       4.     On March 17, 2025, Creditor filed a Complaint for Damages and
 Injunctive Relief (the “Complaint”) in the District Court of Pitkin County, Colorado,
 Case No. 2025CV30025 (the “State Court Action”), arising out of Debtor’s civil theft
 of $133,896.32 in funds from Creditor. See Exhibit 1, Complaint.

       5.     On May 13, 2025, Creditor filed a Motion for Entry of Default Judgment
 against Creditor in the State Court Action, after attempting to confer with counsel
 for Debtor regarding the same.

       6.     It was apparent that, based on Debtor’s lack of response to the Motion,
 default was a strategic attempt to avoid civil discovery and preserve the Debtor’s 5th
 Amendment rights.

         7.     Nevertheless, shortly after the Motion was filed, on May 16, 2025,
 Debtor filed her petition for Chapter 13 bankruptcy, in a further attempt to cease
 civil litigation and enforcement efforts arising out of her undisputed theft of funds.

        8.     On June 18, 2025, Creditor filed her Proof of Claim against Debtor’s
 estate in the amount of $437,164.13.
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                           Disposable Income and Expenses

        9.     First, it is unclear as to whether all of Debtor’s disposable income is
 included in the Plan as required by 11 U.S.C. § 1325(b)(1)(B). Creditor joins in the
 Chapter 13 Trustee’s Objection in this regard and requests additional documentation
 in the form of Debtor’s bank account statements for the 6-month period prior to filing.

        10.    Additionally, Debtor should explain why her projected income under
 Schedule I for employment with Peak3, LTD ($8,003.34 per month, gross)
 significantly differs from that of her Statement of Current Monthly Income ($7,046.46
 per month, gross).

       11.    Creditor also requests documentation of the following itemized expenses
 in Schedule J, which may be overstated:

              a. Telephone, cell phone, Internet, satellite, and cable services of
                 $300.00;

              b. Food and housekeeping supplies of $1,155.00

              c. Childcare and children’s education costs of $2,718.00
              d. Medical and dental expenses of $125.00, especially as Debtor
                 represents that her spouse pays for health insurance;

              e. Transportation costs of $275.00;

              f. Vehicle insurance of $180.00;

              g. Car payments of $704.96;

              h. “NFS car payment” of $820.00;

              i. “NFS motorcycle” of $270.00;

              j. “NFS vehicle insurance” of $179.00;

              k. “NFS Student Loan payment” of $100.00;

              l. “NFS Debt payment” of $739.00. Debtor has also insufficiently
                 explained what this “Debt” payment is for;

              m. “NFS Upgrade payment” of $466.00. Debtor has also insufficiently
                 explained what this “Upgrade” payment is for; and
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              n. “NFS Medical payments” of $200.00. Debtor has also insufficiently
                 explained what these “Medical” payments are for.

       12.     If these expenses are overstated and/or invalid, more funds may be
 available to pay creditors. Accordingly, Creditor requests proof of the same.

        13.    Creditor also objects to the characterization of Debtor’s “Luis vuitton
 Purse” [sic] and “Gucci purse” as exempt “necessary wearing apparel” of the Debtor
 under C.R.S. § 13-54-102(1)(a). The value of such “necessary wearing apparel” should
 be provided to creditors. Moreover, Creditor requests proof of the value of these
 assets.

                                       Bad Faith

       14.    Creditor objects to the Plan, as it was not filed in good faith as required
 under 11 U.S.C. § 1325(a)(3). Moreover, the filing of the Debtor’s petition itself was
 not done in good faith, such that Creditor also objects under 11 U.S.C. § 1325(a)(7).

      15.     “In order to determine whether a Chapter 13 plan was filed in good faith
 under § 1325(a)(3), the Tenth Circuit historically applied the following non-
 exhaustive list known as the Flygare factors:

              (1) the amount of the proposed payments and the amount
              of the debtor’s surplus; (2) the debtor’s employment history,
              ability to earn and likelihood of future increases in income;
              (3) the probable or expected duration of the plan; (4) the
              accuracy of the plan’s statements of the debts, expenses
              and percentage repayment of unsecured debt and whether
              inaccuracies are an attempt to mislead the court; (5) the
              extent of preferential treatment between classes of
              creditors; (6) the extent to which secured claims are
              modified; (7) the type of debt sought to be discharged and
              whether any such debt is non-dischargeable in Chapter 7;
              (8) the existence of special circumstances such as
              inordinate medical expenses; (9) the frequency with which
              the debtor has sought relief under the Bankruptcy Reform
              Act; (10) the motivation and sincerity of the debtor in
              seeking Chapter 13 relief; and (11) the burden on which the
              plan’s administration would place upon the trustee.

 In re McDonald, 508 B.R. 187, 205-06 (Bankr. D. Colo. 2014).
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        16.    Almost thirty years after Flygare was decided, the Tenth Circuit in
 Cranmer noted the Bankruptcy Code was amended to include § 1325(b), which
 subsumed most of the Flygare factors and gave the good faith inquiry “a more narrow
 focus.” Consequently, a bankruptcy court must consider the three Cranmer factors,
 including “whether the debtor has stated his debts and expenses accurately; whether
 he has made any fraudulent misrepresentation to the bankruptcy court; or whether
 he has unfairly manipulated the Bankruptcy Code … This Court also notes that
 proposing a Chapter 13 plan in good faith under § 1325(a)(3) is a factor to consider in
 the totality of circumstances analysis under § 1307(c); however, it is not a standalone
 issue in the context of dismissal under § 1307(c) for alleged bad faith conversion to
 Chapter 13. Clearly, there is an overlap between certain factors analyzing these
 provisions of the Bankruptcy Code.” Id.

       17.   Here, it is clear that the Plan was proposed in bad faith, and that the
 Debtor’s Chapter 13 petition was also filed in bad faith.

       18.   First, the Debtor’s stated income, expenses and exemptions, as
 discussed above, are suspect, without additional clarifying information.

        19.    Of particular importance, however, is the Debtor’s motivation and
 sincerity in seeking Chapter 13 relief. Frankly put, there is no such sincerity.

        20.    The timing of the Chapter 13 bankruptcy, immediately after Creditor
 filed her Motion for Default Judgment in the State Court Action, was clearly an effort
 to cease civil litigation and collection efforts against her by Creditor, arising out of
 the undisputed theft of funds.

        21.    Creditor is the Debtor’s main creditor and holds non-dischargeable debt
 for civil theft, embezzlement and fraud under 11 U.S.C. §§ 523(a)(2), (4) and (6).
 Debtor causes significant harm to Creditor through this filing and the Plan itself,
 paying unsecured creditors next to nothing, forcing Creditor file a forthcoming
 dischargeability adversary proceeding, and, astonishingly, claiming exemptions on
 designer purses and other items to apparently continue her extravagant pre-petition
 lifestyle.

       22.   There is also the issue of bad faith filing of the bankruptcy itself, which
 prevents confirmation of the Plan under 11 U.S.C. § 1325(a)(7).

        23.    “Generally, ‘in determining whether a Chapter 13 petition has been filed
 in bad faith under Section 1307(c), the bankruptcy court must consider the totality of
 the circumstances.’” In re Johnson, 2021 WL 6053832, at *9 (Bankr. D. Colo. Dec. 15,
 2021). The “totality of the circumstances” approach focuses on whether there has been
 an “abuse of the provisions, purposes, or spirit of [the Bankruptcy Code].” In re Gier,
 986 F.2d 1326, 1329 (10th Cir. 1993).
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       24.     The Tenth Circuit, in Gier, enumerated the following seven factors as
 relevant to a bad faith filing inquiry:

                (1) the nature of the debt, including the question of whether
                the debt would be nondischargeable in a Chapter 7
                proceeding; (2) the timing of the petition; (3) how the debt
                arose; (4) the debtor’s motives in filing the petition; (5) how
                the debtor’s actions affected creditors; (6) the debtor’s
                treatment of creditors both before and after the petition
                was filed; and (7) whether the debtor has been forthcoming
                with the bankruptcy court and the creditors.

 Id. at 1329.

         25.   The timing of the petition, again, shows bad faith, and that the motive
 in seeking relief under the Bankruptcy Code is not sincere. Rather, Debtor appears
 to wish to pay pennies on the dollar to Creditor, among others, over a period of years
 after she stole thousands of dollars to fund her Aspen, Colorado lifestyle. The nature
 of the debt to Creditor, the pre-petition treatment of the Creditor, and the effect of
 this filing on Creditor, therefore, also weighs heavily against Debtor.

         26.  Additionally, many of Debtor’s purported expenses are unclear and
 potentially duplicative (for example, multiple car payments and vehicle insurance
 payments, unspecified medical and other “debt” expenses). It does not appear that
 Debtor has been forthcoming with this Court about the nature of her assets and
 liabilities.

       27.    Creditor reserves the right to amend her objection and to conduct
 discovery into the issues raised herein.

       WHEREFORE, Creditor respectfully requests that this Court deny
 confirmation of the Plan, dismiss or convert this matter into a Chapter 7 proceeding,
 and for such other and further relief as this Court deems just and proper.

       Dated: June 20, 2025.

                                    Respectfully submitted,


                                    /s/ Bailey C. Pompea
                                    Jeffrey A. Weinman, Esq.
                                    Bailey C. Pompea, Esq.
                                    ALLEN VELLONE WOLF HELFRICH & FACTOR P.C.
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                             Counsel for Creditor, Roaring Fork Neurology, P.C.
                             dba NeuroSpa
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                           CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the forgoing was
 served on all counsel of record, pursuant to Fed.R. Bankr.P and the L.B.R, by filing
 the same through CM/ECF on June 20, 2025.


                                 /s/ Bailey C. Pompea
                                 Allen Vellone Wolf Helfrich & Factor P.C.
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                                     EXHIBIT 1



  DISTRICT COURT, PITKIN COUNTY
  Court Address:
  506 E Main Street
  Aspen, CO 81611
  Plaintiff: Roaring Fork Neurology, P.C., d/b/a
  NeuroSpa
  v.                                                         ▲COURT USE ONLY▲

  Defendant: Andrea Tinsley f/k/a Andrea Klug-Napier


  Plaintiff’s Attorneys:
                                                            Case No.:
  Name:         Beth Klein, 17477                           2025CV030025
  Address:      Klein | Frank, P.C.
                350 Market Street, Suite 310
                Basalt, CO 81621                            Div:        Crtrm:
  Phone No.:    303-448-8884
  Fax No.:      303-861-2449
  Email:        beth@kleinfrank.com


               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF




       Plaintiff Roaring Fork Neurology, P.C. d/b/a NeuroSpa (“NeuroSpa”) submits
 its Complaint for Damages and Injunctive Relief.

                                        Parties
 1.     Plaintiff Roaring Fork Neurology, P.C., d/b/a NeuroSpa, is a Colorado
 corporation doing business in Pitkin County at 426 E Main St #1A, Aspen, CO
 81611.



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 2.     Andrea Tinsley f/k/a Andrea Klug-Napier (“Defendant”) is a resident of
 Pitkin County residing at 115 Paepcke Dr. Unit 102, Aspen, CO.

                                  Venue and Jurisdiction

 3.     Jurisdiction is proper in this Court has the tortious conduct giving rise to the
 claims occurred in Colorado.

 4.     Venue is proper as the Defendant is a resident of Pitkin County and the
 tortious conduct giving rise to the claims herein occurred in Pitkin County.

                                   Factual Background

 5.    Defendant was hired on January 18, 2021. Defendant was responsible for
 marketing and administrative tasks for NeuroSpa.

 6.   Defendant developed and operated the NeuroSpa online store at
 www.theneurospa.com (SHOP tab) on SquareSpace

 7.    Customers of NeuroSpa purchase skin care products, gift certificates, and
 prepay for services through this online store.

 8.     Beginning in 2021, NeuroSpa held special online only sales events several times a
 year: Labor Day, Black Friday, and Spring and Summer events.

 9.    These sales events generated large sums of money for NeuroSpa, and all
 proceeds from these sales belonged to NeuroSpa and were to be paid to NeuroSpa.

 10. Defendant created the logistics for these on-line sales events and the merchant
 website in general




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 11. To receive payments, Defendant established an online Merchant
 Payment/Payout account through Stripe to both collect payments from customers
 and to route those payments from our online store to the NeuroSpa Alpine Bank
 account ending in -7743.

 12. At no time was the Defendant authorized to take any money from these sales
 for her personal use.

 13.   At no time was the Defendant authorized to create multiple Stripe accounts.

 14. At no time was the Defendant authorized to funnel payments for NeuroSpa
 products and services to her personal bank accounts and debit cards.

 15. At no time was there ever an agreement that Defendant could divert any
 NeuroSpa funds for her personal use.

 16. On February 13, 2025 a meeting was held regarding the Defendant’s
 unacceptable behavior in arranging a photo shoot at NeuroSpa’s spa and medical
 practice which is strictly forbidden.

 17.   Defendant separated from NeuroSpa on February 16, 2025.

 18. After the Defendant’s separation, Stripe notified NeuroSpa that two Stripe
 accounts linked to NeuroSpa’s online store were closed.

 19. The account numbers are: 1PdD90K58zKwa49D and
 1OtyHkFWrOvRgaxM.

 20. The Defendant had “closed” them on February 13, 2025 within two hours of
 the review meeting concerning the Defendant’s unacceptable behavior.

 21. Upon investigation, it was discovered that Defendant created multiple
 unauthorized Stripe accounts to link to www.theneurospa.com online store through
 SquareSpace from 2022-2025.
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 22. Upon request the Stripe Support team identified an additional 5 accounts,
 including an account linked to a MindBody account. MindBody used to be
 NeuroSpa’s scheduling and payment software from 2021-2023.

 23. As of the date of this filing NeuroSpa has discovered the transactions on
 Exhibit A in the amount of $133,896.32 that were made on Stripe accounts where
 Defendant diverted funds away from the NeuroSpa Bank account to bank accounts
 and debit cards owned by the Defendant and others. The investigation is ongoing,
 and there may be more.

 24. In addition to diverting funds belonging to NeuroSpa, the Defendant has sole
 access to the NeuroSpa VistaPrint account that holds business cards, brochures, and
 paper advertisements. This account is linked to the NeuroSpa credit card. Defendant
 has prevented NeuroSpa’s full access its own account.

 25. The Defendant has prevented NeuroSpa from accessing NeuroSpa’s Canva
 Account.

 26. The Defendant has prevented NeuroSpa from accessing NeuroSpa’s Google
 Analytics for www.theneurspa.com.

 27. The Defendant has refused to return property belonging to NeuroSpa
 including video, photos, and marketing materials.

 28. On information and belief, the Defendant has taken HIPPA protected patient
 information from Neurospa.

 29. All staff at NeuroSpa are trained in physician patient privacy laws and
 procedure and is certified annually.



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 30. The Defendant through her NeuroSpa training is aware that HIPPA protected
 patient information must not be shared and must remain secure and confidential.

                                   First Claim for Relief
                                      CIVIL THEFT
 31.   All prior allegations are incorporated by reference.

 32.   NeuroSpa owned all the revenues from its sales.

 33. The Defendant knowingly, without authorization, and/or by deception took
 money from NeuroSpa’s sales by diverting funds from sales account to her personal
 possession.

 34. The Defendant did so with the intent to permanently deprive the NeuroSpa of
 the use or benefit of NeuroSpa’s revenues and funds.

                                  Second Claim for Relief
                                  INJUNCTIVE RELIEF
 35.   All prior allegations are incorporated by reference.

 36. The circumstances giving rise to this action stem from the Defendant’s
 intentional conduct and theft of at least $133,896.32 from NeuroSpa.

 37. NeuroSpa will continue to suffer damages without orders prohibiting and/or
 limiting the Defendant’s use and possession of patient information.

 38. NeuroSpa will continue to suffer damages without orders prohibiting the
 Defendant’s use NeuroSpa’s of tax ID numbers for NeuroSpa and the social security
 numbers of its owners.


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 39. NeuroSpa will continue to suffer damages without order prohibiting the
 Defendant from using NeuroSpa’s online accounts and ordering the user ID’s and
 passwords to be provided to NeuroSpa.

 38. NeuroSpa will continue to suffer damages without full access to their websites,
 their marketing materials.

 39.   NeuroSpa will suffer irreparable harm unless an injunction issues.

 40. The injury to NeuroSpa from the Defendant’s actions outweigh any harm to
 the Defendant the injunction may cause, if any.

 41. The injunction will not adversely affect the public interest, and in fact supports
 the interests of the public.

 42. NeuroSpa is entitled to an order in the form of injunctive relief requiring
 Defendant to fully comply and cooperate with protecting the privacy of NeuroSpa
 patients and restoring access to websites and marketing property belonging to
 NeuroSpa.

 43. The balance of equities favors an injunction entered against the Defendant as
 follows:

       CEASE AND DESIST from
       a.  Using NeuroSpa’s name and company’s assets, accounts, TIN and
           identity FOR ANY PURPOSE.
       b.  Using the Social Security number of the owner of NeuroSpa FOR ANY
           PURPOSE.
       c.  Using patient contact, identity, medical histories, and financial
           information.
       d.  Defaming NeuroSpa and its owner.
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       e.     Using NeuroSpa’s Stripe account or any on-line payment service to
              create additional personal accounts where NeuroSpa’s funds and online
              sales can be diverted.
       f.     Setting up dummy accounts mimicking or redirecting on line sales from
              www.theneurospa.com.

       BE COMPELLED TO
       a.  Provide all user names and passwords to permit your full access to
           NeuroSpa’s Vistaprint account, Canva account, and Goggle Analytics for
           www.theneurospa.com.
       b.  Provide all marketing documents and designs that she was paid to
           generate for NeuroSpa in native format.
       c.  Provide all photographs and video produced to market NeuroSpa in
           Defendant’s possession, custody and/or control.

     WHEREFORE, in addition to the injunctive relief requested, NeuroSpa prays
 this honorable Court enter judgment in their favor against Defendant and award the
 following damages:

    a. All actual damages in an amount to be proven at trial including the return of all
       funds stolen (including all bank charges, interest and fees for any transfer of
       company funds stolen from your company) from your company times three
       plus attorney’s fees.
    b. All costs of litigation
    c. Pre-judgment interest at 9% or the applicable statutory rate
    d. Punitive damages per subsequent Amendment order of the Court.
    e. Such other relief as allowed under Colorado law that is proper and equitable.




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 March 17, 2025

                                  KLEIN | FRANK, P.C.
                                   Original signature on file at Klein | Frank, P.C.

                                   /s/ Beth A. Klein
                                   Beth A. Klein
                                   Attorneys for Plaintiff




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